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From:                Shane D Allen <sdallen2@aep.com>
Sent:                Friday, June 10, 2022 1:43 PM
To:                  Brandon Smith
Subject:             Receipt of Payment


Brandon,

KentuckyPowerreceivedthe$2,800,000WiredDepositon6/8/2022fromMohawkEnergy,LLC.TheDeposithasbeen
addedtoMohawkEnergy,KentuckyPowerAccount#034Ͳ012Ͳ350Ͳ0Ͳ1.

Thanks,


                   SHANE D ALLEN| CUSTOMER ACCOUNT MGR
                   SDALLEN2@AEP.COM| A:8.610.1205 
                   1400 E. MAIN STREET, HAZARD, KY 41701 
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                                                     AEPCONFIDENTIAL




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                                                       EXHIBIT 3
